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 1   RUSSELL E. MARSH, ESQUIRE
     Nevada Bar No. 11198
 2   WRIGHT STANISH & WINCKLER
     300 S. Fourth Street
 3   Suite 701
     Las Vegas, NV 89101
 4   Phone: (702) 382-4004
     Fax: (702) 382-4800
 5   rmarsh@wswlawlv.com
     Attorney for Defendant Kolona Marshall
 6
 7                            UNITED STATES DISTRICT COURT
 8                                     DISTRICT OF NEVADA
 9
     UNITED STATES OF AMERICA,           )
10                                       )
           Plaintiff,                    )
11                                       )
                   vs.                   )                   CASE NO. 2:16-CR-0296-JAD-PAL
12                                       )
     KOLONA MARSHALL,                    )                   STIPULATION TO CONTINUE
13                                       )                   SENTENCING
           Defendant.                    )                   (FIRST REQUEST)
14   ____________________________________)
15
16           IT IS HEREBY STIPULATED AND AGREED, between the United States of America,
17   through its attorneys, DAYLE ELIESON, United States Attorney, and SUSAN CUSHMAN,
18   Assistant United States Attorney, and Defendant Kolona Marshall, through her counsel, RUSSELL
19   E. MARSH, WRIGHT STANISH & WINCKLER, that the sentencing hearing currently scheduled
20   for May 14, 2018, at 11:00 am, be vacated and set to a date and time convenient to this Court, but
21   no sooner than thirty (30) days from the current sentencing date.
22           This stipulation is entered into for the following reasons:
23           1.      The Defendant is currently in pretrial detention, at the Nevada Southern Detention
24   Center. Ms. Marshall requests this continuance, so that she can complete a parenting class at the
25   facility prior to sentencing.
26           2.      In addition, Defense counsel needs additional time to prepare for Defendant
27   Marshall’s sentencing.
28           3.      The parties agree to the continuance.
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 1              5.     Additionally, denial of this request for continuance could result in a miscarriage of
 2   justice.
 3              5.     The additional time requested by this Stipulation is made in good faith and not for
 4   purposes of delay.
 5              This is the first request for a continuance of the sentencing hearing.
 6              Dated this 4th day of April, 2018.
 7   WRIGHT STANISH & WINCKLER                                DAYLE ELIESON
                                                              UNITED STATES ATTORNEY
 8
 9   BY     /s/ Russell E. Marsh                              BY /s/ Susan Cushman
          RUSSELL E. MARSH, ESQUIRE                             SUSAN CUSHMAN
10        Attorney for Defendant Hudson                         Assistant U.S. Attorney’s
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 1
 2                                UNITED STATES DISTRICT COURT
 3                                        DISTRICT OF NEVADA
 4
 5   UNITED STATES OF AMERICA,           )
                                         )                  CASE NO. 2:16-CR-00296-JAD-PAL
 6         Plaintiff,                    )
                                         )
 7                 vs.                   )
                                         )                  ORDER
 8   KOLONA MARSHALL,                    )
                                         )
 9         Defendant.                    )
     ____________________________________)
10
11          Based on the Stipulation of the parties, the Court hereby continues the sentencing of
12   Defendant Kolona Marshall in this matter. The ends of justice served by granting said continuance
13   outweigh the best interest of the public and the Defendant in a speedy sentencing, since the failure
14   to grant said continuance would be likely to result in a miscarriage of justice, would deny the parties
15   herein sufficient time and the opportunity within which to be able to effectively and thoroughly
16   prepare for sentencing, taking into account the exercise of due diligence.
17          IT IS THEREFORE ORDERED that the sentencing in the above-captioned matter currently
18                                                                         July 2, 2018, at the2018,
     scheduled for May 14, 2018 at 11:00 a.m., be vacated and continued to ________________,
19   hour
     at    of 10:00 _.m.
        __________  a.m.
20                this _______
            DATED this 4th day of
                               dayApril, 2018.
                                   of ______________, 2018.
21
22                                                          _______________________________________
                                                            JENNIFER A. DORSEY
23                                                          United States District Judge
24
25
26
27
28
